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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

DALE MELVIN,
                                              Case No. 2:18-cv-13405
             Plaintiff,
                                              HONORABLE STEPHEN J. MURPHY, III
v.

COMMISSIONER OF SOCIAL
SECURITY,

             Defendant.
                                  /

                                      JUDGMENT

      IT IS ORDERED AND ADJUDGED that, pursuant to the Court's order

dated February 28, 2020, Plaintiff's claims are dismissed with prejudice.



                                        DAVID J. WEAVER
                                        CLERK OF THE COURT

                                        BY: s/ D. Parker
                                        Deputy Clerk
Dated: February 28, 2020

APPROVED:

s/ Stephen J. Murphy, III
STEPHEN J. MURPHY, III
U.S. DISTRICT JUDGE

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on February 28, 2020, by electronic and/or ordinary mail.

                                        s/ David P. Parker
                                        Case Manager




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